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                               Nos. 24-720, 24-2826

            IN THE UNITED STATES COURT OF APPEALS
                      FOR THE NINTH CIRCUIT
            _____________________________________________

                          TRADER JOE’S COMPANY,
                                               Plaintiff-Appellant,
                                         v.
                           TRADER JOE’S UNITED,
                                      Defendant-Appellee.
           ______________________________________________

                On Appeal from the United States District Court
         for the Central District of California, Case No. 2:23-cv-05664
                         The Honorable Hernán D. Vera
           ______________________________________________

               CONSOLIDATED OPENING BRIEF OF
         PLAINTIFF-APPELLANT TRADER JOE’S COMPANY
          ______________________________________________


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                CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure, Plaintiff-

Appellant Trader Joe’s Company hereby certifies that T.A.C.T. Holding, Inc. is

Trader Joe’s Company’s corporate parent, and no publicly held corporation owns

10% or more of Trader Joe’s Company’s stock.

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                                INTRODUCTION

      This is a case about the sale of branded goods in commerce, which happen to

be sold by a union. Many important union rights—striking, advocacy, organizing—

are protected by federal labor law. Selling branded goods in commerce is not one

of them. The Lanham Act prohibits trademark infringement by any party; there is

no exemption for unions. In concluding otherwise, the district court effectively

granted unions blanket license to sell goods bearing employers’ marks, so long as

the union can point to some preexisting discord. The consequences of that decision

matter not just for Trader Joe’s, but for all employers with valuable brands whose

employees may be unionizing. This Court should reverse.

      Trader Joe’s, a well-known grocery store chain with indisputably strong

trademarks, brought a targeted set of claims against Trader Joe’s United, a union that

has organized a handful of Trader Joe’s stores. The claims arise from Trader Joe’s

United’s sales of certain tote bags, buttons, mugs, and t-shirts bearing Trader Joe’s

trademarks. Trader Joe’s did not sue when Trader Joe’s United began using Trader

Joe’s marks in its organizing and publicity efforts. Nor did it challenge all of the

union’s product designs. It brought a narrow suit as required to protect its trademark

rights. The district court dismissed the initial complaint without leave to amend,

found the case “exceptionally meritless,” and awarded attorneys’ fees.




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      This was error several times over. From a procedural standpoint, the district

court resolved disputed factual questions against Trader Joe’s; strayed beyond the

pleadings and the parties’ briefing; undertook its own internet research; and

dismissed an entire claim (trademark dilution) on a theory that was never raised or

briefed by any party. Worse still, the court denied Trader Joe’s even one chance to

amend its complaint—contrary to this Court’s well-established law.

      From a substantive perspective, other errors followed. The district court

erroneously concluded the Norris-LaGuardia Act (NLGA) required dismissal of

Trader Joe’s request for injunctive relief. But this case does not arise out of a labor

dispute. And the NLGA does not prohibit injunctions against the act of selling

infringing goods. As for the trademark claims themselves, the court misapplied

multiple doctrines and misstated the law governing the seminal likelihood-of-

confusion test. Those errors carried over into, and were reiterated in, the court’s

decision awarding six-figures’ worth of attorneys’ fees to Trader Joe’s United.

      Without the overhang of union rights, and viewing the complaint for what it

truly (and narrowly) alleges, a very different picture emerges. Trader Joe’s brought

carefully circumscribed claims that it was authorized (and required) to bring as a

trademark holder. That the infringer was a union changes nothing. The complaint

sufficiently stated the claims alleged or, at least, Trader Joe’s should have been given




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the opportunity to amend like any other litigant. This Court should reverse the

judgment below and the order of attorneys’ fees.

                       STATEMENT OF JURISDICTION

      The district court had jurisdiction under 15 U.S.C. § 1121 and 28 U.S.C.

§§ 1331 and 1367, because this action arises under the Lanham Act, and there is

supplemental jurisdiction over the state law claims. On January 12, 2024, the district

court entered an order dismissing the complaint. 1-ER-8. On February 8, 2024,

Trader Joe’s timely appealed from that order. 2-ER-244–264. On April 30, 2024,

the district court entered an order partially granting Trader Joe’s United’s Motion

for Attorneys’ Fees. 1-ER-2–7. On May 2, 2024, Trader Joe’s timely appealed from

that order. 2-ER-235–243. On May 15, 2024, this Court consolidated both appeals.

ECF No. 16 (9th Cir. No. 24-720). This Court has jurisdiction over this consolidated

appeal under 28 U.S.C. § 1291.

                         STATEMENT OF THE ISSUES

      1. Whether the district court erred in holding that the Norris-LaGuardia Act

bars injunctive relief for trademark infringement based on this sale of branded goods

in commerce.

      2. Whether the district court erred in dismissing Trader Joe’s initial

complaint, seeking relief for trademark infringement and dilution under the Lanham

Act and related state law, and in denying leave to amend.



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      3. Whether the district court erred in awarding attorneys’ fees.

                         STATUTORY AUTHORITIES

      Pertinent statutes are included in the attached statutory addendum.

                          STATEMENT OF THE CASE

I.    FACTUAL BACKGROUND

      A.     The Trader Joe’s Brand

      Trader Joe’s is a national grocery store chain renowned for its distinctive

shopping experience and unique, affordable product selection. 2-ER-199, 201 (¶¶ 1,

14). Since 1967, it has offered its services and goods under its namesake trademark

TRADER JOE’S and related marks. 2-ER-203 (¶ 19). Using its marks, Trader Joe’s

supplies a wide variety of grocery and grocery-related products and merchandise,

including coffee, cocoa and tea, tote bags, and other Trader Joe’s-branded products

in stores across the country. See 2-ER-202 (¶ 18); 2-ER-42 (¶ 4), 44–99. Trader

Joe’s focus on distinctive shopping and on delivering high-quality, innovative

products has produced a famous brand. 2-ER-202 (¶ 17).

      Trader Joe’s sells its products only in physical stores, but promotes those

products through carefully curated online channels—with notable success. 2-ER-

205 (¶¶ 23-24). “Fearless Flyer,” a newsletter distributed both in print and via email,

reaches more than 850,000 customers. 2-ER-201–202 (¶ 16). Trader Joe’s website

(www.traderjoes.com) receives over 4.6 million visitors monthly. Id. And Trader

Joe’s also advertises its products on a podcast and on various social media platforms.

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Id. Trader Joe’s has also seen organic reputational growth, with its name-branded

tote bags—which some consider to be a collectors’ item—recently going viral. See

2-ER-202 (¶ 18); 2-ER-92–94.

      Through all these efforts, Trader Joe’s has amassed a loyal and devoted

customer base and become a household name. 2-ER-202, 205 (¶¶ 17-18, 23-24).

Trader Joe’s is protective of its carefully developed brand and does not license its

products or branding for others to use online or elsewhere. 2-ER-199, 205 (¶¶ 5, 25).

      B.     Trader Joe’s Trademark Registrations

      Trader Joe’s owns multiple federal registrations for the TRADER JOE’S word

mark, spanning numerous classes and types of goods. 2-ER-204–205, 219–224,

226–231, 234 (¶ 21 & Ex. A (U.S. Reg. Nos. 1,424,176, 1,422,216, 1,420,628,

1,421,310, 1,421,383, 1,421,358, 2,160,601, 2,156,879, 2,158,990, 4,001,531,

5,927,576)). It likewise owns multiple registrations for a stylized version of its

namesake word mark, in a signature typeface created in the 1960s and shown here:




2-ER-225, 232 (U.S. Reg. Nos. 2,171,157, 4,001,533); see also 2-ER-203 (¶ 19).

Trader Joe’s also owns a federal registration for its stylized logo featuring an image

and its name inside a set of concentric circles:




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2-ER-204–205, 233 (¶ 21 & Ex. A (U.S. Reg. No. 5,221,626)).

      C.     Use of Trader Joe’s Marks by Trader Joe’s United

      Trader Joe’s United is an independent labor union that has recently sought to

unionize certain Trader Joe’s stores. 2-ER-200, 205 (¶¶ 10, 26). Throughout the

second half of 2022 and the first half of 2023, it filed representation petitions with

the National Labor Relations Board (NLRB) seeking to represent Trader Joe’s

employees at various locations; some stores selected Trader Joe’s United as their

representative and some did not. 2-ER-179–181. Certain of those efforts resulted

in labor disputes that are the subject of NLRB proceedings, initiated by Trader Joe’s

United and its representatives at various points beginning in June 2022 and over the

course of the next year. Id. Trader Joe’s has never demanded that Trader Joe’s

United stop using Trader Joe’s name to identify itself generally or in connection with

these labor organizing efforts and labor disputes. 2-ER-209 (¶ 36).

      On June 23, 2023, over a year after it began organizing, Trader Joe’s United

launched an online “merch” store, at https://store.traderjoesunited.org. 2-ER-97;

see also 2-ER-205–208 (¶¶ 26-30). There, Trader Joe’s United sells “tote bags,

apparel, mugs, and buttons.” 2-ER-205 (¶ 26). Some of these products include the

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words “Trader Joe’s” in red lettering and a font similar to Trader Joe’s registered

TRADER JOE’S mark. 2-ER-205–208 (¶¶ 26-30). Others include circular logos

like Trader Joe’s logos. Id. Among its products, Trader Joe’s United offers a tote

bag with the phrase “Trader Joe’s United” in all-capitalized, stylized typeface, in red,

within a logo featuring two concentric circles. 2-ER-207–208 (¶ 29).

       Four days after Trader Joe’s United launched its merch store, on June 27, 2023,

Trader Joe’s wrote to it and requested that it discontinue selling certain products that

Trader Joe’s believes infringe its trademarks. 2-ER-208–209 (¶ 33). The letter

focused on a narrow set of products that Trader Joe’s believed caused the greatest

risk of confusion. 2-ER-206–208 (¶¶ 28-29).1 All of the products challenged by

Trader Joe’s use its TRADER JOE’S mark, typically emblazoned “Trader Joe’s

United” with no other wording, and do not discuss labor disputes between the union

and Trader Joe’s. Id. Trader Joe’s United refused to remove the infringing items.

2-ER-209 (¶ 34).

       D.    This Lawsuit

       Roughly three weeks later, on July 13, 2023, Trader Joe’s filed this suit,

alleging claims for trademark infringement and dilution under the Lanham Act,


   1
      For example, Trader Joe’s sells totes, creates branded t-shirts for employees,
and creates branded pins for events. See 2-ER-50–69. While Trader Joe’s does not
currently sell mugs, it does sell coffee, tea, cocoa, mug decorations, and many
similar products that could be confused with Trader Joe’s United’s products. See 2-
ER-79–91.

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15 U.S.C. §§ 1114-1118, 1125, as well as claims under California’s Unfair

Competition Law, Cal. Bus. & Prof. Code § 17200 et seq., and for common law

infringement. 2-ER-198. Trader Joe’s requested injunctive and monetary relief. 2-

ER-216–217.

      On August 21, 2023, Trader Joe’s United moved to dismiss. See 2-ER-174–

197. It argued that the trademark infringement claims failed because Trader Joe’s

did not allege facts sufficient to satisfy the eight-factor likelihood of confusion test.

See 2-ER-184–190. The dilution claim failed, it argued, because its goods were not

sold in commerce. See 2-ER-190–191. Trader Joe’s United also argued that Trader

Joe’s injunctive relief claims must be dismissed because the district court lacked

jurisdiction to enter an injunction under the NLGA.

      Trader Joe’s United sought judicial notice of two NLRB proceedings it

initiated accusing Trader Joe’s of unfair labor practices: (i) a May 25, 2023 NLRB

complaint (based on a charge filed by a Trader Joe’s United representative on

November 7, 2022), and (ii) a July 7, 2023 consolidated NLRB complaint (based on

charges filed by Trader Joe’s United representatives on eight different dates, most

in June 2022). 2-ER-151–173. Despite the fact that virtually all of the NLRB

charges had been served on Trader Joe’s months earlier, Trader Joe’s United argued

that Trader Joe’s lawsuit “arose” out of those NLRB disputes, rather than out of the

recent launch of its “merch” store. 2-ER-193.



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      Trader Joe’s opposed the motion to dismiss, arguing that it had stated legally

sufficient claims and that the NLGA arguments were misplaced. See generally 2-

ER-123–148. In the alternative, Trader Joe’s requested leave to amend. 2-ER-147.

      E.     Motion to Dismiss Hearing

      On November 9, 2023, the district court held a hearing on the motion to

dismiss. The court remarked at the outset that it “can’t imagine that Trader Joe[’]s

really cares about buttons or mugs so I have a hard time thinking that this is a true,

good-faith commercial dispute.” 2-ER-102 (3:22-24).

      Turning to the merits, the district court expressed “concerns” about “whether

there’s really going to be any likelihood of confusion” based on its own “look[] at

the photos[] [of] the products.”      2-ER-103 (4:1-11).      Trader Joe’s counsel

emphasized that the infringing marks appear on tote bags, which both parties sell,

placing them in direct competition and increasing the likelihood of confusion. 2-

ER-104–105 (5:17-6:9). The court remarked that it was “somewhat torn” “because

[Trader Joe’s totes are] pretty famous tote bags.” 2-ER-106 (7:10-11). The court

further suggested it was “plausible at least at this stage” that Trader Joe’s United

could “create some confusion” with its tote bags. 2-ER-106 (7:13-15).

      F.     The Dismissal Order

      On January 12, 2024, the district court granted the motion to dismiss, with

prejudice. 1-ER-23–24 & n.12. The court begins by proclaiming, “[t]his action is



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undoubtedly related to an existing labor dispute, and it strains credulity to believe

that the present lawsuit—which comes dangerously close to the line of Rule 11—

would have been filed absent the ongoing organizing efforts that Trader Joe’s United

have mounted (successfully) in multiple locations across the country.” 1-ER-9.

       Following that theme, the district court first held that the NLGA barred any

injunctive relief. 1-ER-14–15. Despite conceding that “a full record has not been

developed at this early stage,” the court found that “the ‘relative impact’ of online

sales of campaign merchandise … on Trader Joe’s product market is undoubtedly

de minimis” and so, in its view, could not justify trademark litigation. 1-ER-14.

Trader Joe’s, the court concluded, must have instead sued only to “weaponize the

legal system.” 1-ER-15.

       Through that lens, the district court turned to Trader Joe’s trademark

infringement claim. Applying the eight Sleekcraft factors, 2 the court found no

likelihood of confusion between Trader Joe’s goods and services and the allegedly

infringing products:

       Proximity and relatedness (Factor 2). The district court held the parties’

offerings were unrelated. It asserted that because tote bags were “the only product

type sold by both Trader Joe’s and the Union,” the allegedly infringing mugs,

buttons, and shirts had “no relation” to Trader Joe’s goods or services. 1-ER-17. It


   2
       AMF Inc. v. Sleekcraft Boats, 599 F.2d 341, 348-49 (9th Cir. 1979).

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further found that the “context in which consumers will find the Union’s goods”

minimized any confusion, because consumers would necessarily see the

merchandise through the “Union’s website, which is openly critical of [Trader Joe’s]

labor practices.” 1-ER-17–18.

      Similarity of marks (Factor 3). Next, the district court held that Trader Joe’s

United’s logos, fonts, and designs were not similar to Trader Joe’s marks, explaining

that the “Court does not see compelling similarities in any of the designs.” 1-ER-

18. In so holding, the court discounted all evidence of similarity derived from the

union’s use of the TRADER JOE’S word mark—reasoning that because Trader

Joe’s did not challenge Trader Joe’s United’s use of the name “Trader Joe’s” to

identify itself, it could not rely on the use of the word mark on merchandise to

demonstrate confusion or similarity. 1-ER-19.

      Marketing channels (Factor 5).          The district court acknowledged that

“[c]onvergent marketing channels increase the likelihood of confusion,” but placed

little weight on Trader Joe’s extensive internet marketing, finding, “on these

particular facts,” that “the point of sale is most relevant.” 1-ER-19–20 (citation

omitted). Again, the court asserted consumers could “only encounter the Union’s

products in the context of its website,” where they would see the “language of labor

activism” with any purchase and so would not be confused. 1-ER-20.




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      Consumer sophistication (Factor 6). After acknowledging the complaint did

not allege any facts regarding consumer sophistication, the district court looked

online to determine that Trader Joe’s United’s merchandise was priced between $6

and $60, which it characterized as “moderately priced.” 1-ER-21. Then, again citing

the website, the court concluded that the “.org” extension and labor union language

negated the risk of confusion. 1-ER-21–22. The court further determined that even

a consumer who navigated directly to the separate Trader Joe’s United apparel

webpage would be confronted with “a conspicuous ‘About Us’ link,” would click

on that link, and would in turn be provided a link that would “direct[] the user back

to the Trader Joe’s United homepage,” and hence “would not believe they were

purchasing from Trader Joe’s.” 1-ER-22.

      Remaining factors. The district court analyzed the remaining Sleekcraft

factors (strength of marks, actual confusion, intent, and likelihood of expansion) in

a footnote. It acknowledged that Trader Joe’s United “does not contest the strength

of the Trader Joe’s family of marks[,]” making “strength of marks” (Factor 1) weigh

in Trader Joe’s favor. 1-ER-22 n.11. The court concluded that “actual confusion”

(Factor 4) was neutral, because Trader Joe’s had not (at the pleadings stage)

introduced evidence of actual confusion, and “intent” (Factor 7) was neutral because

Trader Joe’s did not allege that Trader Joe’s United intended to deceive the public.

Id. Next, the court concluded that it could reject Trader Joe’s allegation that Trader



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Joe’s United was likely to expand its infringing activities (Factor 8), because it did

not plead specific facts supporting that conclusion. Id. Finally, it held that Trader

Joe’s had failed to argue that it was likely to expand its own business to compete

with Trader Joe’s United’s goods. Id.

      Balancing the factors, the district court found “no plausible likelihood of

confusion.” 1-ER-22. On that ground, the court dismissed Trader Joe’s Lanham

Act infringement claim, and related state law claims. 1-ER-22–23.

      Turning to the trademark dilution claim, the district court invoked a theory

raised by neither party. It held that Trader Joe’s United could not dilute Trader Joe’s

marks because Trader Joe’s United’s name referred to Trader Joe’s, and so, in the

court’s opinion, its use of Trader Joe’s marks on its goods was a “nominative” fair

use. 1-ER-23–24 (citation omitted).

      The district court denied leave to amend as futile. 1-ER-23–24 & n.12.

      G.     The Fees Order

      On January 26, 2024, Trader Joe’s United moved for an award of attorneys’

fees. Dkt. 46. Trader Joe’s opposed, arguing that the case was not “exceptional,”

as required to award fees under the Lanham Act. Dkt. 59. Trader Joe’s also argued

the lawsuit was brought in good faith, and supplied examples of additional facts it

could have pleaded had it been given leave to amend. 2-ER-44–91; see also 2-ER-

35 (10:17-20).



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      The district court heard the fees motion on April 11, 2024. 2-ER-26–40. At

the outset, the court again observed that it “just couldn’t tell why Trader Joe[’]s

would care” about the union’s sales, which it again asserted (without support) were

“minimal.” 2-ER-32 (7:17-23). As a result, it found the lawsuit “suspicious.” Id.

      On April 30, 2024, the district court granted Trader Joe’s motion for attorneys’

fees in substantial part, awarding $112,622.12. 1-ER-7. The court repeated its view

that the lawsuit was improper because it “related to an ongoing labor dispute.” 1-

ER-4. The court also reiterated its conclusion that no likelihood of confusion existed,

calling the similarities between Trader Joe’s marks and Trader Joe’s United’s

designs “negligible.”    1-ER-5.     For those reasons, the court concluded the

“exceptional” standard was satisfied. 1-ER-6.

                          SUMMARY OF ARGUMENT

      This appeal is about the intersection of trademark law and a union’s desire to

sell branded goods in commerce that duplicate an employer’s mark. It is not about

core union activities like organizing and demonstrating. Nor is about using an

employer’s mark merely for identification purposes or to publicize a labor dispute.

The district court erred out of the gate by treating the defendant’s status as a union

as preclusive of injunctive relief, by allowing that status to overtake its analysis of

the trademark claims, and by elevating Trader Joe’s perceived motives over

governing law. On a motion to dismiss, the district court resolved factual disputes



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against Trader Joe’s, conducted its own factfinding, ventured beyond the parties’

arguments, and denied leave to amend the complaint (even once)—and then awarded

six-figure attorneys’ fees. Both the dismissal order and fee order should be reversed.

      I. The NLGA does not bar injunctive relief here for two reasons. First, the

NLGA prohibits only certain injunctions that target labor disputes. 29 U.S.C. § 101.

This trademark lawsuit does not involve or grow out of a labor dispute. It is about

selling branded goods in commerce. And it has nothing to do with working

conditions or the terms of employment. Mere temporal proximity to an unrelated

labor dispute is insufficient, as is the district court’s (incorrect) perception of Trader

Joe’s motive for filing this suit. Second, even if it somehow involves a labor dispute,

it does not involve the enumerated kind of labor dispute for which injunctive relief

is categorically prohibited. Id. § 104. And none of the NLGA’s other limitations on

injunctive relief are applicable or ripe at the pleading stage.

      II. As to the trademark infringement claim, Trader Joe’s alleged sufficient

facts showing a likelihood of confusion between its offerings and those of Trader

Joe’s United. Dismissal for failure to adequately plead a likelihood of confusion is

exceptional. And to treat this case as exceptional, the district court undertook its

own factual investigation, drew inferences against Trader Joe’s, and committed legal

errors in weighing the eight fact-intensive Sleekcraft factors. Most notably, the court

discounted factors that favored Trader Joe’s (like the strength of its mark); dismissed



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factors that were relevant (like marketing channels); misapplied factors (like the

incorrect conclusion that products must be identical to be “related”); and ignored a

critical portion of the challenged marks (because Trader Joe’s did not challenge the

union’s name alone). These errors, individually and collectively, resulted in a

premature dismissal of Trader Joe’s trademark infringement claims.

      III.   The district court dismissed Trader Joe’s trademark dilution claim

based on nominative fair use—a doctrine that neither party raised and that has no

application here. Nominative fair use applies only when a party uses a mark to refer

to a competitor’s product; it does not apply to the use of a mark on a defendant’s

own goods. Without the benefit of any briefing, the court simply got this wrong and,

in turn, wrongly dismissed the trademark dilution claim.

      IV.    The district court alternatively erred in denying Trader Joe’s even one

chance to amend its complaint. Dismissal with prejudice is a drastic remedy, and

this Court routinely reverses decisions denying leave to amend a first complaint.

      V.     The attorneys’ fees award cannot stand either. If the Court reverses,

Trader Joe’s United is no longer a prevailing party. But even if not, this case was

not “exceptional” within the meaning of the Lanham Act. Trader Joe’s brought

targeted, carefully circumscribed claims, implicating issues of first impression, to

protect its trademark rights as it has often done and as it is required to do. Even if

dismissal is somehow proper, the six-figure fee award is not and should be reversed.



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                           STANDARD OF REVIEW

      The Court “review[s] de novo [a] district court’s dismissal for failure to state

a claim.” Ariix, LLC v. NutriSearch Corp., 985 F.3d 1107, 1114 (9th Cir. 2021)

(citation omitted). The Court “accept[s] all factual allegations in the complaint as

true,” and “construe[s] the pleadings in the light most favorable to the nonmoving

party.” Id. (citation omitted). “While a court may consider judicially noticeable

facts in resolving a motion to dismiss, the inquiry under Rule 12(b)(6) is into the

adequacy of the pleadings, not the adequacy of the evidence.” Solid 21, Inc. v.

Breitling USA, Inc., 512 F. App’x 685, 687 (9th Cir. 2013) (citation omitted). The

Court “review[s] the denial of leave to amend for abuse of discretion, but, when that

denial is premised on the determination that amendment would be futile, [the Court]

review[s] the futility of amendment de novo.” Stroble v. Walmart, No. 23-35287,

2024 WL 1612240, at *1 (9th Cir. Apr. 15, 2024).

      The Court reviews “the district court’s decision on fees awarded under the

Lanham Act … for an abuse of discretion.” SunEarth, Inc. v. Sun Earth Solar Power

Co., 839 F.3d 1179, 1181 (9th Cir. 2016). If the dismissal is reversed, the fee award

must be vacated. Graham-Sult v. Clainos, 756 F.3d 724, 750 (9th Cir. 2014).

                                  ARGUMENT

I.    THE DISMISSAL ORDER IS UNPRECEDENTED

      This case treads on infrequently traveled territory. Few courts have addressed

how trademark infringement claims interact with union rights and laws. Even fewer

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have addressed how the Lanham Act (which governs trademark claims) intersects

with the NLGA (which bars injunctive relief in labor disputes absent certain

prerequisites). The district court’s decision is the first—and only—to hold that the

NLGA applies to a union’s sale of branded goods in commerce. And it is the first—

and only—to allow the defendant’s status as a union to control its assessment of the

validity of the underlying Lanham Act claims. Both holdings were in error.

      This Court has not addressed application of the Lanham Act to a union in any

published opinion or any unpublished opinion after 2007. Of the few cases that have

examined the subject, none address the fact pattern presented here: where a union’s

act of selling goods bearing a mark in commerce—conduct that falls within the

“heartland of trademark law,” Jack Daniel’s Props., Inc. v. VIP Prods. LLC, 599

U.S. 140, 145, 147 (2023)—is challenged as infringing.

      The most common fact pattern involves an employer seeking to bar use of its

marks by a union in core union speech, e.g., recruitment brochures, protest mailers,

and online criticism. See, e.g., Marriott Corp. v. Great Am. Serv. Trades Council,

AFL-CIO, 552 F.2d 176, 178-79 (7th Cir. 1977) (challenge to use of company name

to identify union); Medieval Times U.S.A., Inc. v. Medieval Times Performers United,

695 F. Supp. 3d 593, 602-03 (D.N.J. 2023) (challenge to use of logo similar to

company logo, on website, social media, and in union communications); Silgan

Containers LLC v. Int’l Ass’n of Machinists & Aerospace Workers, AFL-CIO, No.



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18-C-213, 2018 WL 5840766, at *3 (E.D. Wis. Nov. 8, 2018) (challenge to use of

employer’s name in social media criticism).3 Courts addressing these limited uses

of the marks generally denied relief to the employer, under three different legal

theories.

       First, some courts have concluded that the NLGA applied and barred

injunctive relief (but not the claims as a whole). In each of these cases, the courts

determined that the unions were using the marks in a limited way to “[g]iv[e]

publicity to the existence of, or the facts involved in, [a] labor dispute.” 29 U.S.C.

§ 104(e); see Marriott, 552 F.2d at 179-80 (NLGA applied when union used

company name to identify itself and organize employees); Silgan, 2018 WL 5840766,

at *2-3 (NLGA applied to use of logo on social media platforms “to organize Silgan

employees to vote in favor of unionizing”); Senco Prods., Inc. v. Int’l Union of Elec.,



   3
       See also Circle Grp. v. Se. Carpenters Reg’l Council, No. 1:09-cv-3039, 2010
WL 11549830, at *2 (N.D. Ga. May 5, 2010) (challenge to use of employer’s logo
in negative ads and online criticism); Cintas Corp. v. Unite Here, 601 F. Supp. 2d
571, 579 (S.D.N.Y.) (challenge to use of employer’s mark in online criticism), aff’d
by summary order, 355 F. App’x 508 (2d. Cir. 2009); Cellco P’ship v. Commc’n
Workers of Am., No. 02-5542, 2003 WL 25888375, at *1 (D.N.J. Dec. 11, 2003)
(challenge to variation on company slogan in advertisement criticism); WHS Ent.
Ventures v. United Paperworkers Int’l Union, 997 F. Supp. 946, 948 (M.D. Tenn.
1998) (challenge to use of company logo parody in fliers); Lucky Stores, Inc. v. Int’l
Bhd. of Teamsters Loc. Nos. 70, 78, 490, 812 F. Supp. 162, 163 (N.D. Cal. 1992)
(challenge to use of company mark and parodied slogan in materials advocating
boycott of company); Senco Prods., Inc. v. Int’l Union of Elec., Radio & Mach.
Workers, AFL-CIO-CLC, 311 F. Supp. 590, 591 (S.D. Ohio 1970) (challenge to use
of company name in pamphlets describing dispute).

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Radio & Mach. Workers, AFL-CIO-CLC, 311 F. Supp. 590, 592 (S.D. Ohio 1970)

(NLGA applied to fliers publicizing union’s dispute). These courts held the NLGA

barred injunctive relief only—not the underlying trademark claims. E.g., Marriott,

552 F.2d at 179-81 (preliminary injunctive relief barred, but remanding for further

proceedings on trademark claims); CNA Fin. Corp. v. Loc. 743 of Int’l Bhd. of

Teamsters, Chauffeurs, Warehousemen & Helpers of Am., 515 F. Supp. 942, 945-46

(N.D. Ill. 1981) (following Marriott, holding NLGA applied, but denying motion to

dismiss).

      Second, some courts have held the infringement claims fell entirely outside

the Lanham Act, because the unions were not using the marks “in commerce.” In

those instances, the use of marks on organizing materials was simply outside the

Lanham Act altogether. See WHS Ent. Ventures v. United Paperworkers Int’l Union,

997 F. Supp. 946, 949-50 (M.D. Tenn. 1998) (use of parody of employer’s mark in

fliers was not use in commerce, but served “to further the Union’s position in a labor

dispute”); Cellco P’ship v. Commc’n Workers of Am., No. 02-5542, 2003 WL

25888375, at *6 (D.N.J. Dec. 11, 2003) (use of trademark in criticism was not use

in commerce); Circle Grp. v. Se. Carpenters Reg’l Council, No. 1:09-cv-3039, 2010

WL 11549830, at *6 (N.D. Ga. May 5, 2010) (use of employer mark “in

‘promotional and advertising materials’ … ‘in association with a planned and

calculated campaign’” not use in commerce).



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       Third, the remainder found no likelihood of confusion because the employers’

names were being used in union-organizing materials solely to criticize the employer.

See Cintas Corp. v. Unite Here, 601 F. Supp. 2d 571, 579 (S.D.N.Y.) (use was

“solely to criticize Cintas’s corporate practices”), aff’d by summary order, 355 F.

App’x 508 (2d. Cir. 2009); see also Silgan, 2018 WL 5840766, at *3 (use was “to

identify Silgan as the employer of the employees IAM is attempting to unionize”);

Medieval Times, 695 F. Supp. 3d at 602 (use was part of “communications about the

employer’s labor practices”); cf. Int’l Ass’n of Machinists & Aerospace Workers,

AFL-CIO v. Winship Green Nursing Ctr., 103 F.3d 196, 203-07 (1st Cir. 1996) (no

likelihood of confusion where employer allegedly used the union’s logo in fliers

critical of the union).

       Outside the context of a labor dispute and core union activities, the limited

jurisprudence that exists suggests that a union’s involvement is nothing special when

it comes to Lanham Act claims. For example, in Brach Van Houten Holding, Inc. v.

Save Brach’s Coalition for Chicago, the district court enjoined a coalition, including

a union, from using the company’s mark to “solicit[] donations, prepar[e] press

releases, hold[] public meetings and press conferences, propound[] proposals for the

reorganization of [the company’s] ownership and/or management,” and pursue

“other activities designed to bring about change in the [company’s] organization and

enhance the stability of workers’ jobs.” 856 F. Supp. 472, 475-76 (N.D. Ill. 1994).



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Because the coalition was providing a service, and the injunction did not bar an

ongoing labor dispute, injunctive relief was not barred and the court enjoined the

coalition from using the trademarks. Id. at 477.

       The district court faced a fact pattern unlike any of the above, and certainly

unlike the three categories where courts have denied relief. Here, a union (Trader

Joe’s United) and employer (Trader Joe’s) had a series of labor disputes; then the

union opened a commercial “merch” store, selling goods with infringing marks for

profit. As virtually all the cases acknowledge, this is a distinction with a difference.

E.g., Senco, 311 F. Supp. at 592 (observing “[t]his [wa]s not a case in which the

defendant Union is selling a product or thing or process in the ordinary commercial

sense”); Cintas, 601 F. Supp. 2d at 579 (“Defendants [we]re not using the ‘CINTAS’

mark as a ‘source identifier ….’”); Silgan, 2018 WL 5840766, at *3 (“IAM is not

using the SILGAN trademark as a source identifier for its services ….”); Circle Grp.,

2010 WL 11549830, at *6 (observing employer did not allege “that the Union uses

[the] mark in connection with the sale of goods or services”); see also Int’l Ass’n of

Machinists, 103 F.3d at 210 (Saris, J., concurring) (“[S]ome forms of union-related

activity may constitute commercial sale or advertising that is protected under

[Lanham] Act.”).4


   4
      Cintas and Medieval Times addressed a union’s sale of goods in passing, but
neither in a way that could guide a result here. Cintas observed that the mere linking


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      In this context, the involvement of a union should have had no bearing on the

validity of the Lanham Act claims or the relief sought. The NLGA and the Lanham

Act have coexisted for nearly eighty years. And as the Supreme Court has explained,

“[w]hen two statutes complement each other,” it would “show disregard for the

congressional design to hold that Congress nonetheless intended one federal statute

to preclude the operation of the other.” POM Wonderful LLC v. Coca-Cola Co., 573

U.S. 102, 115 (2014); Swinomish Indian Tribal Cmty. v. BNSF Ry. Co., 951 F.3d

1142, 1156 (9th Cir. 2020) (when interpreting the intersection of two federal statutes,

courts construe them to avoid a conflict). Until this case, the few cases to address

this subject have harmonized the statutes, finding the NLGA applies to core union

activities while the Lanham Act continues to regulate the sale of goods in commerce.

See supra 18-22. That is the right approach. Properly applied here, the request for

injunctive relief should have been retained and the motion to dismiss denied.

II.   THE NORRIS-LAGUARDIA ACT DOES NOT BAR A COURT FROM
      ENJOINING A UNION’S SALE OF GOODS IN COMMERCE

      Enacted in 1932, the NLGA creates a unique framework for injunctive relief

in cases “involving or growing out of a labor dispute.” 29 U.S.C. § 101. When a

case arises out of a labor dispute, the NLGA imposes certain procedural protections



to a store selling union-branded merchandise did not render use of the CINTAS mark
“in commerce.” 601 F. Supp. 2d at 580. And in Medieval Times, the plaintiff alleged
that the union’s social media page advertised the sale of a t-shirt, but did not
challenge the shirt itself as infringing. 695 F. Supp. 3d at 598, 600.

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and, for a specified set of labor activities, it outright bars injunctive relief. Id. §§ 101,

104; see San Antonio Cmty. Hosp. v. S. Cal. Dist. Council of Carpenters, 125 F.3d

1230, 1234 (9th Cir. 1997). Specifically, the NLGA bars injunctive relief against

certain core labor actions, 29 U.S.C. § 104, and imposes procedural or evidentiary

requirements before injunctive relief can issue in other circumstances, e.g., id. § 107.

       Applying the NLGA and the limited case law discussed above, the district

court broke new ground in holding that the statute applies to, and categorically bars

injunctive relief for, a union’s sale of branded goods in commerce. 1-ER-15. This

was error for two reasons. First, the NLGA does not apply at all because the case

does not involve or grow out of a labor dispute under Section 101. 29 U.S.C. § 101.

Second, even if it does, the NLGA does not categorically bar injunctive relief

because selling branded goods is not among the enumerated acts in Section 104. Id.

§ 104. For either or both reasons, the district court retains jurisdiction to award

injunctive relief on Trader Joe’s claims.

       A.     This Case Does Not Involve Or Grow Out Of A Labor Dispute

       The NLGA applies only to cases involving or growing out of a labor dispute.

See id. § 101. A “labor dispute” is defined as “any controversy concerning terms or

conditions of employment, or concerning the association or representation of

persons in negotiating, fixing, maintaining, changing, or seeking to arrange terms or

conditions of employment.” Id. § 113(c); see also Columbia River Packers Ass’n v.



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Hinton, 315 U.S. 143, 147 (1942) (explaining that a labor dispute is a dispute that

concerns “the wages or hours or other terms and conditions of employment of these

employees”). For a “particular controversy” to qualify as “a labor dispute,” “‘the

employer-employee relationship [must be] at the matrix of the controversy.’”

Burlington N. Santa Fe Ry. Co. v. Int’l Bhd. of Teamsters Loc. 174, 203 F.3d 703,

709 (9th Cir. 2000) (alteration in original) (citation omitted).

      Courts look to the nature of the case itself to determine whether it involves or

grows out of a labor dispute within the meaning of the NLGA. Cf. New Negro All.

v. Sanitary Grocery Co., 303 U.S. 552, 560-61 (1938) (“The act does not concern

itself with the background or the motives of the dispute[,]” but rather whether there

is a “‘controversy concerning terms or conditions of employment.’” (citation

omitted)). Even disputes concerning traditional “labor” topics, such as wages, are

not “labor dispute[s]” if they do not arise out of “‘employer-employee negotiations

or their disputes.’” Pineda v. Skinner Servs., Inc., 22 F.4th 47, 57 (1st Cir. 2021)

(citation omitted). For example, in Brotherhood of Railroad Trainmen v. New York

Central Railroad Co., the Sixth Circuit found no labor dispute despite a union strike

protesting a railyard closure, because “there was no agreement between the railroad

and … the [U]nion” regarding the yard closure specifically and “the [U]nion was not

seeking to exercise any labor rights” in calling the strike. 246 F.2d 114, 117 (6th

Cir. 1957). Similarly, in Brach, a district court held that a dispute between a group



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of unions and a company over a factory closing did not involve or grow out of a

labor dispute. 856 F. Supp. at 477.

      Nor does the mere fact that parties are engaged in a labor dispute mean that

every dispute between those parties automatically involves a “labor dispute” too. In

a subsequent order in the Brach case, for example, the court held again that the

NLGA did not apply, even though one of the unions submitted evidence that it was

negotiating with Brach on matters such as “wages, benefits, job conditions, and job

security.” Brach Van Houten Holding, Inc. v. Save Brach’s Coalition for Chicago,

No. 94-C-3178, 1994 WL 516802, at *2 (N.D. Ill. Sept. 19, 1994). The court

concluded that, notwithstanding the existence of this separate claimed labor dispute,

the “epicenter” of the dispute before the court was “keeping [the] Brach’s [factory]

open for business”—which was not itself a labor dispute. Id. at *3.

      So too here. This is a trademark case. It does not involve terms or conditions

of employment. It does not involve Trader Joe United’s right to organize. The

limited injunctive relief Trader Joe’s seeks—to stop Trader Joe’s United from

putting Trader Joe’s marks on merchandise Trader Joe’s United sells for money—is

not a subject of union bargaining. This case also does not grow from, relate to, or

impact the parties’ actual labor disputes. If the parties’ ongoing NLRB disputes

were resolved tomorrow, Trader Joe’s trademark claims would still exist. No matter

how this lawsuit comes out, Trader Joe’s United will not gain or lose any labor rights.



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       The district court held otherwise because (1) several NLRB disputes between

Trader Joe’s and Trader Joe’s United were brought in the year prior to Trader Joe’s

filing this action; (2) the court did not think Trader Joe’s was likely to be harmed by

the alleged infringing sales; and (3) the court believed this somehow all added up to

Trader Joe’s having a nefarious, anti-labor motive for filing suit. 1-ER-9, 13–15.

The court reached the wrong conclusion because it applied the wrong analysis. And

even on its own terms, the court’s reasoning does not withstand scrutiny.

       As a threshold matter, the district court asked the wrong question. The

relevant question is not Trader Joe’s “motive” or the economic impact on Trader

Joe’s. Nor is it the existence of some extrinsic labor dispute between the parties.

The question is whether the “matrix” of the actual case pending before the court is

the “employer-employee relationship.”          Burlington, 203 F.3d at 709 (citation

omitted); Bhd. of R.R. Trainmen, 246 F.2d. at 117; Brach’s, 856 F. Supp. at 477. For

all the reasons above, it is not.

       Even on its own terms, though, the district court’s analysis was flawed. With

respect to timing, the court found that this lawsuit must have been filed in response

to an NLRB complaint because, it said, Trader Joe’s complaint was filed shortly

after a consolidated NLRB complaint was filed. 1-ER-15. That conclusion was

unsupported. Trader Joe’s did not sue when the union began using its trademarks in

organizing activities in 2022. 2-ER-155. And it did not sue after nine earlier NLRB



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complaints initiated by Trader Joe’s United. 2-ER-153. Trader Joe’s initiated this

dispute by sending a letter asserting infringement immediately after Trader Joe’s

United began selling branded merchandise and before the consolidated NLRB

complaint was filed. See supra 7; 2-ER-208–209.

      With respect to harm, the district court found that sales by Trader Joe’s United

“undoubtedly” would not impact Trader Joe’s. 1-ER-14. But Trader Joe’s pleaded

otherwise. Trader Joe’s alleged that Trader Joe’s United’s infringing conduct

harmed it significantly, and would continue to do so unless enjoined. 2-ER-200,

208, 214 (¶¶ 8, 32, 63). At the pleading stage, the court should not have both rejected

that well-pleaded allegation and then taken the further step to infer an anti-labor

motive that is both unsupported and legally irrelevant. Cf. Mecinas v. Hobbs, 30

F.4th 890, 904-05 (9th Cir. 2022) (“[T]he magnitude of the asserted injury” presents

“factual questions that cannot be resolved on a motion to dismiss.”).

      Because this case does not involve or grow out of a labor dispute, the NLGA

does not apply and the district court retained jurisdiction to grant injunctive relief.

      B.     Section 104 Does Not Apply To This Sale Of Goods In Commerce

      Even if this case could be said to involve or grow out of a labor dispute, that

does not mean injunctive relief is categorically barred. Cases involving labor

disputes further break down into two categories: (1) those involving one of the

enumerated acts in Section 104 (for which injunctive relief is barred), and (2) those



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involving other acts (for which injunctive relief may or may not be permissible

depending on the application of other sections).          Specifically, Section 104

enumerates nine acts for which the NLGA categorically prohibits injunctive relief.

29 U.S.C. § 104. If a case does not fall within any of the nine categories, injunctive

relief is instead governed by other sections, which impose certain procedural,

evidentiary, and substantive requirements before an injunction can issue. E.g., id.

§ 107.5 The district court erred in holding that, “because this case arises out of a

labor dispute between the parties,” Section 104 “divest[s]” the court “of jurisdiction

to issue injunctive relief on any of Plaintiff’s claims.” 1-ER-15.

       This case does not fall under any of the nine categories in Section 104. The

district court did not hold otherwise. The closest possible option, Subsection (e) of

Section 104, prohibits courts from enjoining acts “[g]iving publicity to the existence

of, or the facts involved in, any labor dispute, whether by advertising, speaking,

patrolling, or by any other method not involving fraud or violence.”

29 U.S.C. § 104(e). But that section has no application here.

       Courts have applied Section 104(e) to prohibit injunctions against unions

using an employer’s name or logo in fliers, critical websites, and other similar uses.

See, e.g., Senco, 311 F. Supp. at 592. The apparel, buttons, mugs, and bags Trader


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      Section 107—which requires the court to evaluate evidence in connection
with deciding whether to issue an injunction—was not relied on by the district court
or Trader Joe’s United and is not applicable at this stage. 29 U.S.C. § 107.

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Joe’s challenges do not “[g]iv[e] publicity to the existence of, or the facts involved

in, any labor dispute.” 29 U.S.C. § 104(e). They do not convey anything about a

labor dispute, including whether there even is a dispute. Most merely say “Trader

Joe’s United.” See 2-ER-206–207 (¶ 28). And enjoining the sale of a few items—

with Trader Joe’s United free to sell others, 2-ER-209–210 (¶ 37)—does not prevent

Trader Joe’s United from otherwise sharing its name, publicizing disputes with

Trader Joe’s, or engaging in traditional union activities (e.g., organizing, petitioning,

or striking). 2-ER-209–210, 216–217 (¶¶ 35-37, Prayer); cf. Senco, 311 F. Supp. at

591-92 (finding subsection (e) barred relief on trademark claims concerning

“handbills or dodgers” and observing “[n]either [union] defendant is selling any

product”).

       Because Section 104 does not bar injunctive relief, and because the parties

never litigated the (unripe) procedures of Section 107 or any other provision, the

district court was not divested of jurisdiction over the injunctive relief claims.

III.   THE DISTRICT COURT ERRED IN                              DISMISSING           THE
       TRADEMARK INFRINGEMENT CLAIMS

       Even if the Court were to conclude the NLGA applied, the district court should

not have dismissed Trader Joe’s trademark claims. That is because, injunctive relief

aside, Trader Joe’s may still seek damages. The Lanham Act (as well as the related

state law claims) apply to unions. And there is no exception for cases involving

labor disputes. The validity of Trader Joe’s trademark claims depends on an inquiry


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separate and apart from the NLGA, and the court erred in allowing the former to

bleed into an analysis of the latter. Properly applied, Trader Joe’s plausibly stated

claims for trademark infringement (Part III) and dilution (Part IV).

       A.    Trademark Infringement Claims Are Generally Ill-Suited To
             Early Dismissal, And This Case Was No Exception

       The elements of a claim of trademark infringement are “(1) that [plaintiff] has

a protectible ownership interest in the mark;[6] and (2) that the defendant’s use of

the mark is likely to cause consumer confusion.” Rearden LLC v. Rearden Com.,

Inc., 683 F.3d 1190, 1202-03 (9th Cir. 2012) (citation omitted); accord Ironhawk

Techs., Inc. v. Dropbox, Inc., 2 F.4th 1150, 1159 (9th Cir. 2021). The question

whether a likelihood of confusion exists is “intensely factual.” Rearden, 683 F.3d

at 1202 (citation omitted). It is determined through a pliant and non-exhaustive

eight-factor test known as the Sleekcraft test. AMF Inc. v. Sleekcraft Boats, 599 F.2d

341, 348-49 (9th Cir. 1979); GoTo.com, Inc. v. Walt Disney Co., 202 F.3d 1199,

1205 (9th Cir. 2000). The Sleekcraft factors are:

       (1) strength of the mark; (2) proximity of the goods; (3) similarity of
       the marks; (4) evidence of actual confusion; (5) marketing channels
       used; (6) type of goods and the degree of care likely to be exercised by
       the purchaser; (7) defendant’s intent in selecting the mark; and
       (8) likelihood of expansion of the product lines.



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       Trader Joe’s ownership of its marks is uncontested. See 1-ER-16 (“The Union
neither contests nor submits controverting evidence regarding ownership or
validity.”).

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599 F.2d at 348-49. A “plaintiff need not satisfy”—much less allege—“every

factor.” Pom Wonderful LLC v. Hubbard, 775 F.3d 1118, 1125 (9th Cir. 2014)

(citation omitted).

          Confusion need not be assessed “in the few moments before the

consummation of a transaction,” i.e., the point of sale. See, e.g., Select Comfort

Corp. v. Baxter, 996 F.3d 925, 936 (8th Cir. 2021). Confusion is actionable

whenever it occurs. So-called “[i]nitial interest confusion is customer confusion that

creates initial interest in a competitor’s product,” but is “dispelled before an actual

sale occurs.” Playboy Enters., Inc. v. Netscape Commc’ns Corp., 354 F.3d 1020,

1025 (9th Cir. 2004). “Point-of-sale” confusion happens at or near the purchase

itself.     See 3 J. Thomas McCarthy, McCarthy on Trademarks and Unfair

Competition § 23:5 (5th ed. 2024).            And “[p]ost-sale confusion occurs when

consumers view a product outside the context in which it is originally distributed

and confuse it with another, similar product.” Acad. of Motion Picture Arts & Scis.

v. Creative House Promotions, Inc. (AMPAS), 944 F.2d 1446, 1455 (9th Cir. 1991).

          It is extraordinarily rare for a court to dismiss a case on the Sleekcraft factors

at the pleading stage. “[D]ismissal for failure to state a claim upon which relief can

be granted is appropriate in only the most extreme trademark infringement cases,

such as where goods are unrelated as a matter of law, since the likelihood of

confusion is generally a question of fact.” Bliss Collection, LLC v. Latham Cos., 82



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F.4th 499, 508 (6th Cir. 2023) (citation omitted); e.g., 5 McCarthy, supra,

§ 32:121.50 (“[G]rants of a motion to dismiss are the exception, not the rule.”).

Contrary to the district court’s conclusion, this is not that extraordinarily rare case.

      B.     The District Court Erred In Repeatedly Looking Outside The
             Record To Construe Facts Against Trader Joe’s

      At every step, the district court drew inferences against Trader Joe’s,

“judicially noticed” facts outside the pleadings, and resolved factual issues that

should have been the subject of discovery, evidence, and trial. These threshold

errors pervaded the court’s analysis of nearly every Sleekcraft factor and are

discussed in detail below. But before addressing each factor individually, there is

one overarching factual and procedural error that stands out. In connection with

multiple factors, the court interjected its own views based on its exploration of the

Trader Joe’s United website, finding that customers would necessarily view Trader

Joe’s United’s products through the website, “steeped in the language of labor

activism.” 1-ER-20; see 1-ER-18, 20–22. That finding was improper.

      For one thing, that inferential finding rested on the shaky foundation of

judicially noticing the contents of Trader Joe’s United’s entire website based on the

complaint’s passing references to it. Khoja v. Orexigen Therapeutics, Inc., 899 F.3d

988, 1002 (9th Cir. 2018) (“mere mention of the existence of a document is

insufficient to incorporate the contents of a document” (citation omitted)).




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      But regardless whether judicial notice was proper, there was no basis for the

district court to determine—as a matter of law—that the only way consumers could

reach Trader Joe’s United’s products was by going through the main union page.

Trader Joe’s and Trader Joe’s United actively disputed how that website would be

viewed. Compare 2-ER-184–185, with 2-ER-136–137. As the district court itself

acknowledged, Trader Joe’s United customers could navigate directly to, and

purchase products from, store pages lacking “labor activism” language. 1-ER-22.

And if internet searches by a court are fair game at the motion-to-dismiss stage, one

need only google “trader joe’s t-shirts” to see that Trader Joe’s United t-shirts stand

side-by-side with Trader Joe’s t-shirts. That distinction squarely distinguishes this

case from past decisions interpreting the intersection between unions and trademark

law, where the union context was inescapable and obvious. See, e.g., Senco, 311 F.

Supp. at 591-92; WHS, 997 F. Supp. at 949-50; Circle, 2010 WL 11549830, at *6;

Cintas, 601 F. Supp. 2d at 579-80; Silgan, 2018 WL 5840766, at *3-4. Resolution

of how consumers view Trader Joe’s United’s website should have awaited a later

stage, following evidentiary development. See P&P Imports LLC v. Johnson Enters.,

LLC, 46 F.4th 953, 958 (9th Cir. 2022) (considering expert evidence on how

consumers might encounter products); see also Tiedemann v. von Blanckensee, 72

F.4th 1001, 1014-15 (9th Cir. 2023) (reversing dismissal where there was “no

evidence in the record” to resolve disputed issue).



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      The judicial factfinding led the district court to err in its treatment of at least

three critical factors (proximity, marketing channels, and consumer care), while

giving short shrift to others (like the strength of the mark). Each are discussed in

more detail below—but this threshold error alone requires reversal.

      C.     Trader Joe’s Has A Strong Mark (Factor 1)

      The strength of Trader Joe’s marks is undisputed.            1-ER-15 n.11; see

Sleekcraft, 599 F.2d at 348-49. The district court failed to adequately weigh—across

the entire Sleekcraft analysis—the fact that “a famous mark like [Trader Joe’s] casts

a long shadow.” Dreamwerks Prod. Grp., Inc. v. SKG Studio, 142 F.3d 1127, 1130

(9th Cir. 1998). As strong marks, they are entitled to “the widest ambit of protection

from infringing uses,” AMPAS, 944 F.2d at 1455 (citation omitted), including

“protection over a wider range of related products and services and variations on

visual and aural format,” 1 McCarthy, supra, § 11:73; see also New W. Corp. v. NYM

Co. of Cal., Inc., 595 F.2d 1194, 1202 (9th Cir. 1979).               The court never

acknowledged this factor’s importance.

      D.     Trader Joe’s And Trader Joe’s United’s Goods Are In Proximity
             (Factor 2)

      The district court next erred by applying the wrong standard when looking to

the “proximity” of the parties’ goods and services, and when finding this factor

“weighe[d] strongly against a finding of likelihood of confusion.” See 1-ER-17–18;

Sleekcraft, 599 F.2d at 348-49.


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              1.       The District Court Applied The Wrong Standard To Find
                       The Goods Not Related
      “Goods and services are related when they are complementary, sold to the

same class of purchasers, or similar in use and function.” Ironhawk, 2 F.4th at 1163.

Products need not be “identical,” nor must they compete with one another, to be

proximate. Y.Y.G.M. SA v. Redbubble, Inc., 75 F.4th 995, 1004 (9th Cir. 2023), cert.

denied, 144 S. Ct. 824 (2024); Ironhawk, 2 F.4th at 1163. The “focus” for this factor

is on “whether the consuming public is likely to somehow associate” the parties’

respective offerings. Fortune Dynamic, Inc. v. Victoria’s Secret Stores Brand

Mgmt., Inc., 618 F.3d 1025, 1035 (9th Cir. 2010) (citation omitted). And the

consuming public is not composed of experts—it is made up of “reasonably prudent”

consumers. Brookfield Commc’ns, Inc. v. W. Coast Ent. Corp., 174 F.3d 1036, 1060

(9th Cir. 1999); PlayNation Play Sys., Inc. v. Velex Corp., 924 F.3d 1159, 1167 (11th

Cir. 2019).

      Trader Joe’s alleged that Trader Joe’s United sells merchandise “for profit,

including reusable tote bags, apparel, mugs, and buttons.” 2-ER-205 (¶¶ 1, 18); see

also 2-ER-199 (¶ 2) (alleging common law rights in “home goods”). But the district

court held that only the tote bags were relevant, because (it believed) the tote bags

were the “only product type sold by both Trader Joe’s and [Trader Joe’s United].”




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2-ER-17. 7 This framing—“that a trademark provides protection only when the

defendant uses the mark on directly competing goods”—“is no longer good law.”

Halicki Films, LLC v. Sanderson Sales & Mktg., 547 F.3d 1213, 1228 (9th Cir. 2008)

(quoting Team Tires Plus, Ltd. v. Tires Plus, Inc., 394 F.3d 831, 833 (10th Cir.

2005)). “Having established a protectable interest by proving it is the owner of a

registered trademark, the owner does not additionally have to show that the

defendant’s allegedly confusing use involves the same goods or services listed in the

registration.” Applied Info. Scis. Corp. v. eBay, Inc., 511 F.3d 966, 972 (9th Cir.

2007) (emphasis omitted). And the lack of overlap required is even lower when

considering a famous mark, like Trader Joe’s. See 1 McCarthy, supra, § 11:73

(“‘[S]tronger’ marks are given ‘strong’ protection … over a wider range of related

products ….”). Trader Joe’s needed only to allege the products were sufficiently

related that consumers would likely associate them. Fortune Dynamic, 618 F.3d at

1035. And Trader Joe’s did that. 2-ER-207–208 (¶ 29).

       The district court’s overly restrictive understanding of proximity caused it to

hold that there was “no relation” between Trader Joe’s United’s buttons and mugs

and Trader Joe’s grocery services. 1-ER-17. But of course, there is a relationship.

The buttons, like the tote bags, are accessories. See Fortune Dynamic, 618 F.3d at


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      The court’s belief was based on counsel’s acknowledgement that Trader Joe’s
“do[es] [not] sell buttons and mugs at this moment,” 2-ER-104 (5:20-21). Counsel
did not say Trader Joe’s never sold such items or did not sell closely related items.

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1035. As for the mugs, Trader Joe’s holds registrations for use of its word mark on

“coffee, coffee beans, [and] tea,” as well as “cocoa, cocoa mixes,” and “herb tea,”

2-ER-219, 226, 228—all of which are complementary to “mugs.” The “intuitively

close relationship” between these offerings favors Trader Joe’s. Fortune Dynamic,

618 F.3d at 1035 (“Given the intuitively close relationship between women’s shoes

and apparel in the minds of the consuming public, a jury could reasonably conclude

that the ‘proximity of the goods’ factor favors Fortune.”).

             2.       The District Court Erred In Conducting Research To
                      Construe Facts Against Trader Joe’s
      Not only did the district court get the core definition of “proximity” wrong, it

compounded its error by going beyond the pleadings to consider the purported

“context” of Trader Joe’s United’s “merch” store. The court reasoned that “[t]he

only place customers can purchase [Trader Joe’s United’s] merchandise online is

through the Union’s website, which is openly critical of Plaintiff’s labor practices.”

1-ER-18. Analogizing to cases where a union had used its employer’s marks in

connection with core protected union speech, the court held that consumers were

unlikely to be confused by “a labor union’s use of an employer’s trademark as part

of communications about the employer’s labor practices.” Id.

      But this is wrong as a matter of fact and law. As the district court itself

acknowledged, just a few pages later, it is not true that the “only place” customers

can purchase Trader Joe’s United’s merchandise is through its main webpage—it is


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possible for users to navigate directly to “merch” store pages “without navigating

through the [Trader Joe’s United] homepage.” 1-ER-22. And on the law, none of

the cases the court relied on involved the sale of goods; all involved marks used

directly with criticism or union organizing efforts. See supra 18-22. The challenged

goods displaying Trader Joe’s marks do not themselves “criticize [Trader Joe’s]

corporate practices,” Cintas, 601 F. Supp. 2d at 579, and they exist in a physical

world where they can be seen, touched, and purchased without reference to Trader

Joe’s United’s critical speech, rendering the court’s analogy inapt. See Silgan, 2018

WL 5840766, at *3 (union’s use “limited solely to social media platforms in

conjunction with its attempt to organize employees” was not likely to confuse).

      E.     Trader Joe’s and Trader Joe’s United’s Marks Are Similar,
             Especially At The Motion To Dismiss Stage (Factor 3)

      The district court also erred in its analysis of the third Sleekcraft factor,

“similarity” between Trader Joe’s marks and Trader Joe’s United’s allegedly

infringing marks, by overweighting differences in how the parties’ products are

presented and underweighting key overlap in the marks. See 1-ER-18–17; Sleekcraft,

599 F.2d at 348-49.

      Trader Joe’s plausibly alleged similarities between the parties’ respective

marks. For starters, the challenged marks encompass Trader Joe’s word mark in its

entirety. That alone demonstrates similarity. See Am. Plan Corp. v. State Loan &

Fin. Corp., 365 F.2d 635, 639 (3d Cir. 1966) (“Where the names are identical[,] ...


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the names in themselves are evidence of likelihood of confusion.”); see also

Checkpoint Sys., Inc. v. Check Point Software Techs., Inc., 269 F.3d 270, 281 (3d

Cir. 2001) (finding no error in conclusion that “Check Point Software’s mark was

very similar to Checkpoint Systems’s mark”); Brookfield, 174 F.3d at 1055

(observing that “moviebuff.com” was “essentially identical to Brookfield’s mark

‘MovieBuff’”).

      But that is not all. The designs at issue share other similarities with how

Trader Joe’s presents its marks. For example, Trader Joe’s generally presents its

namesake mark in all capital letters, using a signature typeface that it created and

has used since 1967. 2-ER-203 (¶ 19). The Trader Joe’s United marks likewise

consistently use all caps, as well as stylized fonts similar to that of Trader Joe’s own

marks. See 2-ER-205–208 (¶¶ 27-29). Other marks use concentric circles, just like

Trader Joe’s own registered mark; still others make use of a similar red color scheme.

E.g., 2-ER-204, 205–208 (¶¶ 21, 28-29). These similarities are more than sufficient

to survive the pleading stage, especially given this Court’s directive to weigh

similarities “more heavily” than differences. JL Beverage Co. v. Jim Beam Brands

Co., 828 F.3d 1098, 1109 (9th Cir. 2016) (citation omitted).

      The district court “[did] not see compelling similarities in any of the designs.”

1-ER-18. But that conclusion was rooted in a faulty premise: the court reasoned that,

because Trader Joe’s did not seek to prohibit the union from using its name in all



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contexts, Trader Joe’s could not then “rely on” use of the Trader Joe’s name “to

evince the similarity of the marks.” 1-ER-19. And so, the court ignored entirely the

identical word mark in evaluating similarity. Id. This was error. A party’s decision

not to challenge certain uses of a mark is not tantamount to abandonment of the

mark—rather, it is a sign of a prudent and responsible trademark holder. Because

“a registered trademark can be used by someone other than its owner so long as the

use does not confuse the public,” it was appropriate for Trader Joe’s to challenge

only the unlawful uses—i.e., certain of the commercial uses. United States v. Able

Time, Inc., 545 F.3d 824, 835 (9th Cir. 2008) (quoting 4 McCarthy, supra, § 24:11).

Even though Trader Joe’s does not challenge the use of its name by Trader Joe’s

United for identification purposes, the use of its name on branded goods that the

union sells in commerce cannot be ignored in the similarity analysis. The court

should have considered Trader Joe’s United’s use of Trader Joe’s word mark, and

should have held that Trader Joe’s adequately alleged similarity, and that this factor

weighed heavily in Trader Joe’s favor.

      F.     Trader Joe’s And Trader Joe’s United Use Similar Marketing
             Channels (Factor 5)

      The district court also erred in its analysis of the parties’ respective marketing

channels.   Sleekcraft, 599 F.2d at 348-49.        “In assessing marketing channel

convergence, courts consider whether the parties’ customer bases overlap and how

the parties advertise and market their products.” Pom Wonderful, 775 F.3d at 1130.


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Trader Joe’s allegations support the commonsense conclusions that the relevant

consumer bases overlap and that both parties advertise online to a notable degree.

2-ER-201–202, 205, 207–208 (¶¶ 16, 24, 29). Trader Joe’s online advertising

reaches millions of customers on a monthly basis, and Trader Joe’s United uses the

internet as its primary channel to market and sell its commercial goods. 2-ER-201–

202, 205–206 (¶¶ 16, 27). These facts suffice to establish similar marketing channels

at the pleadings stage.

      The district court nonetheless held this factor “weigh[ed] against a possible

likelihood of confusion,” because Trader Joe’s did not sell products online, while

Trader Joe’s United sells products exclusively online. 1-ER-20 (emphasis added).

This narrow view is contrary to this Court’s precedent: confusion should be assessed

before, at, and after the point of sale. See Playboy, 354 F.3d at 1025; AMPAS, 944

F.2d at 1455. On the front end, the court failed to consider the initial confusion that

might be created through Trader Joe’s United’s advertising. See, e.g., Nissan Motor

Co. v. Nissan Comput. Corp., 378 F.3d 1002, 1019 (9th Cir. 2004) (confusion existed

where nissan.com website offered information to “capitalize[] on consumers’ initial

interest” in automobiles); Brookfield, 174 F.3d at 1062 (“initial interest confusion”

existed because “metatags” could “divert people looking for ‘MovieBuff’ to

[defendant’s] web site”); Dr. Seuss Enters., L.P. v. Penguin Books USA, Inc., 109

F.3d 1394, 1405 (9th Cir. 1997) (confusion could exist where “the use of the Cat’s



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stove-pipe hat or the confusingly similar title” could “capture initial consumer

attention”). And on the back end, the court failed to consider the impact of post-sale

confusion created by customers using and displaying Trader Joe’s United’s branded

products. E.g., AMPAS, 944 F.2d at 1455 (“[B]y considering only the initial

purchasers … as the relevant market, the [district] court overlooked the risk of post-

sale confusion.”). The court’s point-of-sale-confusion-only approach was error.

      The district court further erred by considering only sales channels, and not

marketing channels, as the factor requires. The court reasoned that, given the

ubiquity of online marketing, Trader Joe’s “internet advertising alone is entitled to

little weight.” 1-ER-20 n.9. But that does not mean an online presence, particularly

one as extensive as Trader Joe’s, is entitled to no weight. At minimum, the overlap

in online marketing is certainly not grounds to conclude—as the district court did—

that the marketing channel factor “weighs against” a possible likelihood of

confusion. See Playboy, 354 F.3d at 1028 (use of internet marketing channel

“merit[ed] little weight,” but did not weigh against confusion).

      G.     Trader Joe’s And Trader Joe’s United’s Consumers Are Likely To
             Exercise A Low Degree of Care In Purchasing The Goods At Issue
             (Factor 6)

      The district court similarly erred in its analysis of the sixth factor, “type[s] of

goods and the degree of care likely to be exercised by the purchaser.” Sleekcraft,

599 F.2d at 348-49. For this factor, courts “assess the sophistication of the customers



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and ask ‘whether a “reasonably prudent customer” would take the time to distinguish

between the two product lines.’” Ironhawk, 2 F.4th at 1167 (citation omitted).

“‘When the buyer has expertise in the field,’ or ‘the goods are expensive, the buyer

can be expected to exercise greater care in his purchases.’” Id. (citation omitted).

Conversely, “when dealing with inexpensive products, customers are likely to

exercise less care, thus making confusion more likely.” Brookfield, 174 F.3d at 1060.

      From a commonsense standpoint, it is apparent that this case does not deal in

the highly expensive goods that typically merit finding this factor in favor of a

trademark defendant. Cf. Off. Airline Guides, Inc. v. Goss, 6 F.3d 1385, 1393 (9th

Cir. 1993) (“display ads [that] cost from $2,400 to $16,000 annually” supported

finding that “advertisers” would exercise “great care”). Trader Joe’s pleaded facts

showing that its goods were inexpensive. 2-ER-201 (¶ 14) (Trader Joe’s products

are “affordable”); 2-ER-202 (¶ 17) (Trader Joe’s offers products “at the best prices”).

But again, the district court undertook its own investigation, researching the price

range of Trader Joe’s United’s products online ($6 to $60), finding these products

“moderately priced,” and thus holding the factor was neutral. 1-ER-21 & n.10.

Although $6 buttons are clearly “low-cost,” and $60 for a sweatshirt is not so

expensive that consumers are likely to exercise a high degree of care, the appropriate

course was to leave questions regarding customer sophistication for the post-

pleading stage. Cf. Fortune Dynamic, 618 F.3d at 1038 (“Whoever’s right, the



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difficulty of trying to determine with any degree of confidence the level of

sophistication of young women shopping at Victoria’s Secret only confirms the need

for this case to be heard by a jury.”).

      The district court further erred by (again) engaging in judicial factfinding

about how a consumer might perceive and navigate Trader Joe’s United’s website.

The court pointed to the “.org” domain name extension as likely to dispel consumer

confusion, and held that Trader Joe’s United’s customers would necessarily peruse

its website, “steeped in the language of labor activism.” 1-ER-20. But even the

court acknowledged that a buyer could navigate directly to a “merch” store page,

citing Trader Joe’s United’s “apparel page,” which lacks “labor activism” language.

1-ER-22. As for those customers, the court found they too would not be confused

because they could click an “About Us’ link” where they could then see “that the

webstore is administered on behalf of [Trader Joe’s United],” and then encounter

“links that direct the user back to the [Trader Joe’s United] homepage.” 1-ER-22.

This finding—that customers would click two links to learn about Trader Joe’s

United, rather than just buy a tote—was unsupported by any pleaded or judicially

noticeable facts. And it strains credulity: if a consumer believed she was purchasing

a tote from Trader Joe’s, a familiar brand, she would have no reason to click an

“About Us” link.




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      Construing the pleaded facts in Trader Joe’s favor, this factor weighs in favor

of Trader Joe’s.

      H.     The Other Sleekcraft Factors Either Support Trader Joe’s Or Are
             Neutral

      The remaining Sleekcraft factors were, at best, neutral. The lack of allegations

regarding actual confusion (Factor 4) says little at this early stage in the case,

particularly when suit was brought shortly after the infringement began. Hasbro,

Inc. v. Lanard Toys, Ltd., 858 F.2d 70, 78 (2d Cir. 1998) (lack of actual confusion

“neither helps nor hurts” where the infringing product has been on the market “a

short time”). Similarly, intent to infringe (Factor 7) is not necessary for a finding of

likely confusion. See Pom Wonderful, 775 F.3d at 1131-32. And finally, Trader

Joe’s did plead a likelihood of expansion (Factor 8), 2-ER-210–211 (¶ 41)—though

the Court need not reach that issue given the already existing overlap in goods.

                                    *      *      *

      In the end, multiple factors weighed in Trader Joe’s favor. Especially given

the strength of Trader Joe’s marks, and at the pleading stage, any “doubts” should

have been “resolved in favor of the senior user.” Dr. Seuss Enters., 109 F.3d at 1404

n.14. Dismissing Trader Joe’s infringement claims (including its related state law

claims, which directly track its Lanham Act claim) for want of a likelihood of

confusion was error. And if the complaint was in any way deficient, the district

court should have at least granted Trader Joe’s leave to amend. See infra 50-52.


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IV.    THE DISTRICT COURT ERRED IN DISMISSING TRADER JOE’S
       TRADEMARK DILUTION CLAIM

       A.    Trader Joe’s Adequately Pleaded A Dilution Claim

       “[T]he Lanham Act creates a cause of action for the dilution of famous marks,

which can succeed without likelihood of confusion.” Jack Daniel’s, 599 U.S. at 147.

To state a claim for dilution, a plaintiff must show that “(1) the mark is famous and

distinctive; (2) the defendant is making use of the mark in commerce; (3) the

defendant’s use began after the mark became famous; and (4) the defendant’s use of

the mark is likely to cause dilution by blurring or dilution by tarnishment.” Jada

Toys, Inc. v. Mattel, Inc., 518 F.3d 628, 635 (9th Cir. 2008); see also

Perfumebay.com Inc. v. eBay Inc., 506 F.3d 1165, 1180 (9th Cir. 2007); 15 U.S.C.

§ 1125(c). Trader Joe’s claim alleges dilution by blurring, so it must show that “the

‘association arising from the similarity between a mark or trade name and a famous

mark ... impairs the distinctiveness of the famous mark.’” Jada, 518 F.3d at 635

(omission in original) (quoting 15 U.S.C. § 1125(c)(2)(B)).8




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       Courts may consider at least six factors specified in the statute when making
this determination, including “(i) [t]he degree of similarity between the mark or trade
name and the famous mark[;] (ii) [t]he degree of inherent or acquired distinctiveness
of the famous mark[;] (iii) [t]he extent to which the owner of the famous mark is
engaging in substantially exclusive use of the mark[;] (iv) [t]he degree of recognition
of the famous mark[;] (v) [w]hether the user of the mark or trade name intended to
create an association with the famous mark[;] (vi) [a]ny actual association between
the mark or trade name and the famous mark.” Jada, 518 F.3d at 635-36.

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      Trader Joe’s adequately pleaded a dilution claim. It is uncontested that Trader

Joe’s marks are famous. See 2-ER-201, 204, 213 (¶¶ 14, 20, 54-55). Trader Joe’s

never licenses its marks, and is the exclusive user of its marks. 2-ER-205 (¶ 25).

Trader Joe’s United’s marks were used “in commerce” because it sold merchandise

over the internet bearing those marks. 2-ER-205–208 (¶¶ 27-29). And its products

dilute the uniqueness of Trader Joe’s name and branding, which is otherwise famous

and exclusive. 2-ER-205, 211–212 (¶¶ 25, 46-47).

      B.     The District Court Erred In Dismissing This Claim On A Ground
             Trader Joe’s United Did Not Even Argue

      The district court did not disagree with any of the above. The court instead

held that Trader Joe’s failed to adequately plead a claim of dilution because there “is

no secondary product or association that would make the Trader Joe’s marks lose

their singularity,” since Trader Joe’s United’s name and brand itself refer to Trader

Joe’s. 1-ER-23. The court concluded that this fact rendered Trader Joe’s United’s

use of Trader Joe’s marks “nominative” fair use and thus not actionable dilution. 1-

ER-23–24 (citation omitted); see New Kids on the Block v. News Am. Publ’g, Inc.,

971 F.2d 302, 308 (9th Cir. 1992) (“nominative use of a mark—where the only word

reasonably available to describe a particular thing is pressed into service—lies

outside the strictures of trademark law”).

      As a threshold matter, the district court erred in dismissing on this ground,

which was not raised by Trader Joe’s United, without giving Trader Joe’s the


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opportunity to brief it. Dismissal on a ground not raised by the party seeking

dismissal is an abuse of discretion. See Do v. First Fin. Sec., Inc., 694 F. App’x 481,

483 (9th Cir. 2017) (reversing dismissal where complaint was dismissed on grounds

not raised by defendant). Courts ordinarily follow the party presentation rule, which

“rel[ies] on the parties to frame the issues for decision.” Greenlaw v. United States,

554 U.S. 237, 243 (2008). This rule “avoids the potential for prejudice to parties

who might otherwise find themselves losing a case on the basis of an argument to

which they had no chance to respond.” United States v. Yates, 16 F.4th 256, 270-71

(9th Cir. 2021).

      The party presentation principle exists for another reason too: when an issue

is not briefed by the parties, the court may get it wrong. Such is the case here. The

court’s proclamation that no “secondary product” exists is nonsensical, given that

Trader Joe’s United sells products and places them in the market. 1-ER-23; 2-ER-

205–208 (¶¶ 27-29). The court appeared to be under the impression that since Trader

Joe’s United’s name refers to Trader Joe’s, Trader Joe’s United could market

products under its own branding without diluting Trader Joe’s marks. But this

framing fundamentally misunderstands the doctrine of nominative fair use.

Nominative use involves the use of a mark to identify a markholder’s product,

typically for comparison purposes—e.g., discussing “Coca-Cola” in an

advertisement for “Pepsi.” It applies only where “the defendant’s use of the



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plaintiff’s trademark refers” to “the plaintiff’s product.” New Kids on the Block, 971

F.2d at 308.

      When a defendant instead “use[s] a trademark to designate the source of its

own goods—in other words, has used a trademark as a trademark,” that “kind of use

falls within the heartland of trademark law.” Jack Daniel’s, 599 U.S. at 145; id. at

163 (holding, with respect to dilution, that the “noncommercial exclusion does not

shield … commentary when its use of a mark is … source-identifying”). Trader

Joe’s United’s use of Trader Joe’s marks on its goods is not “nominative,” New Kids

on the Block, 971 F.2d at 308, because Trader Joe’s United is not referring to Trader

Joe’s products when it places “Trader Joe’s United” on its goods; it is, rather, “us[ing]

a trademark as a trademark.” Jack Daniel’s, 599 U.S. at 145; see New Kids on the

Block, 971 F.2d at 308; Cairns v. Franklin Mint Co., 292 F.3d 1139, 1151-56 (9th

Cir. 2002) (New Kids on the Block factors apply “where a defendant has used the

plaintiff’s mark to describe the plaintiff’s product”); Playboy Enters., Inc. v. Welles,

279 F. 3d 796, 801 (9th Cir. 2002) (same). The doctrine of nominative fair use does

not apply to the pleaded facts, and the district court erred in dismissing Trader Joe’s

dilution claims on that basis.

V.    THE DISTRICT COURT ERRED IN DENYING LEAVE TO AMEND

      If the Court agrees with the arguments above, it need not read further. But if

the Court concludes that Trader Joe’s original complaint does not state a claim, it



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should still reverse because the district court should have granted Trader Joe’s first

and only request for leave to amend. 2-ER-147.

       Dismissal with prejudice “is not appropriate unless it is clear on de novo

review that the complaint could not be saved by amendment,” and it is particularly

improper for a first complaint. Eminence Cap., LLC v. Aspeon, Inc., 316 F.3d 1048,

1052 (9th Cir. 2003); see IV Sols., Inc. v. Empire HealthChoice Assurance, Inc., 800

F. App’x 499, 501 (9th Cir. 2020). It must be “clear ‘beyond doubt that amendment

of the complaint would be futile.’” IV Sols., 800 F. App’x at 501 (citation omitted)

(reversing dismissal and remanding where plaintiff “was denied even one chance to

amend its complaint”).

       “A simple denial of leave to amend without any explanation by the district

court is subject to reversal,” as is “insufficient consideration” of why amendment

would not cure pleading deficiencies. Hicks v. PGA Tour, Inc., 897 F.3d 1109, 1124

(9th Cir. 2018); Do, 694 F. App’x at 183. That is what happened here. The district

court’s sole stated basis for denying leave to amend the trademark infringement and

related state law claims was that there was “no plausible likelihood of confusion

under these circumstances.” 1-ER-23 & n.12. As for the trademark dilution claim,

the court did not even explain why it denied leave to amend. See 1-ER-24.9


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      The district court’s only “explanation” was a citation to an earlier footnote,
which stated that courts have declined to enjoin unions from using employers’ names


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      And Trader Joe’s could have amended its complaint to address many of the

issues that concerned the district court. It could have alleged several other products

that either overlapped entirely with Trader Joe’s United’s products (e.g., buttons,

pins, and shirts), or related to those products (e.g., mug-shaped cookies, spoons,

coffee, and tea). See 2-ER-44–91. It could have added allegations regarding how

consumers would likely encounter Trader Joe’s United’s products, e.g., it could have

truthfully pleaded that Trader Joe’s United’s products come up in google searches

for Trader Joe’s products and that they can be reached without a consumer ever

encountering “language of labor activism.” See supra 34. And Trader Joe’s could

have provided more details about its own products and likelihood of expansion. See

supra 13. These allegations would have directly addressed the court’s concerns,

which means amendment was far from futile.

      If the Court does not reverse outright, it should at least reverse and remand

with instructions that the district court grant Trader Joe’s leave to amend.

VI.   THE DISTRICT COURT ERRED IN AWARDING ATTORNEYS’
      FEES

      If this Court reverses the dismissal order, in whole or in part, it must vacate

the fee award—and no additional analysis is required. See Graham-Sult, 756 F.3d




generally—which has nothing to do with dilution or leave to amend. 1-ER-24 n.14
(citing footnote 7).

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at 750; Pac. Sound Res. v. Burlington N. & Santa Fe Ry. Co., 286 F. App’x 381, 383

(9th Cir. 2008). But even if it affirms, the Court should vacate the fee award.

      A.     Standard For Determining Whether A Case Is “Exceptional”

      Section 1117(a) of the Lanham Act permits recovery of attorneys’ fees only

“in exceptional cases.” 15 U.S.C. § 1117(a). “‘[A]n “exceptional” case is simply

one that stands out from others with respect to the substantive strength of a party’s

litigating position (considering both the governing law and the facts of the case) or

the unreasonable manner in which the case was litigated.’” SunEarth, 839 F.3d at

1180 (quoting Octane Fitness, LLC v. ICON Health & Fitness, Inc., 572 U.S. 545,

554 (2014)). Courts assess the following “nonexclusive factors”: “‘frivolousness,

motivation, objective unreasonableness (both in the factual and legal components of

the case) and the need in particular circumstances to advance considerations of

compensation and deterrence.’” Id. at 1180-81 (quoting Fogerty v. Fantasy, Inc.,

510 U.S. 517, 534 n.19 (1994)). The standard is “flexible,” but two types of cases

that may be “exceptional” are those that are “exceptionally meritless” or “brought in

subjective bad faith.” Octane Fitness, 572 U.S. at 555. To determine whether a case

is “exceptional,” courts examine the “totality of the circumstances.” Id. at 554.

      The district court awarded attorneys’ fees because it concluded that Trader

Joe’s case was “exceptionally meritless” and was brought with “subjective bad

faith.” 1-ER-4 (citation omitted). Neither conclusion is accurate.



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      B.      This Case Is Meritorious

      A case is not “exceptionally meritless”—or “exceptional” under the Lanham

Act—simply because a party loses. “‘[W]here a plaintiff sues under a colorable, yet

ultimately losing, argument, an award of attorney’s fees is inappropriate’ under

§ 1117(a).”   Bliss Collection, 82 F.4th at 516 (alteration in original) (citation

omitted); see Max Rack, Inc. v. Core Health & Fitness, LLC, 40 F.4th 454, 478-79

(6th Cir. 2022) (reversing attorneys’ fees award where, among other things,

prevailing party “did not have a noticeably stronger ‘litigation position’” (citation

omitted)); Checkpoint Sys., Inc. v. All-Tag Sec. S.A., 858 F.3d 1371, 1376-77 (Fed.

Cir. 2017) (reversing fee award where patent infringement claim was “reasonable”).

      For the reasons explained above, this case was not “exceptionally” meritless.

Trader Joe’s had a sound basis to allege that the Lanham Act prohibited Trader Joe’s

United from selling goods bearing Trader Joe’s marks. See supra 30-52. It had no

reason to believe the NLGA barred a single form of relief sought, as it had never

been applied to the commercial sale of infringing goods. See supra 17-23. Trader

Joe’s pleaded sufficient facts to plausibly allege a likelihood of confusion between

its offerings and related products bearing the infringing designs, as well as dilution

by blurring. See supra 30-50. And it had no reason to believe the defense of

nominative fair use—which does not apply when the mark is used to identify the




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defendant, not the plaintiff—would bar its dilution claim, particularly when Trader

Joe’s United did not even raise that defense.

      Trader Joe’s also could have pleaded additional facts to support its claims had

it gotten the chance to amend. As Trader Joe’s explained in its fee opposition, it was

prepared to amend to allege additional products related to Trader Joe’s United’s

products—including buttons, coffee cups, t-shirts, and mug-compatible foods and

beverages.    See 2-ER-44–91.      The district court erred in finding the case

“exceptionally” meritless.

      C.     This Case Was Not Brought In Bad Faith

      The district court also erred in finding bad faith. The court did not find that

the case was litigated in an “unreasonable manner.” SunEarth, 839 F.3d at 1180-81.

The court instead relied on two SunEarth factors, concluding the case was

exceptional because it was “improper[ly] motivate[ed]” and “present[ed] the need

for deterrence.”   1-ER-5.    The court’s view—made clear throughout both its

orders—was that Trader Joe’s had no legitimate reason to care about Trader Joe’s

United’s infringement, and that it could only have brought this suit for leverage in

the parties’ unrelated labor disputes. That inference lacks support.

      As for timing, and as discussed above, Trader Joe’s brought this suit over a

year after Trader Joe’s United filed its first NLRB complaint. See supra 27-28; 2-

ER-153. Trader Joe’s did not sue Trader Joe’s United when it filed the first, second,



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third, fourth, fifth, sixth, seventh, eighth, or ninth NLRB complaint. See id. Trader

Joe’s sued immediately after the union launched its merch store, and it did so in a

targeted fashion, focused solely on Trader Joe’s United’s sale of certain infringing

goods. See supra 7. This circumscribed course of conduct focused on Trader Joe’s

intellectual property does not suggest a “need for deterrence.” 1-ER-5.

      The district court’s belief that Trader Joe’s had no reason to care about the

supposedly de minimis impact of Trader Joe’s United’s sales is likewise

unsupported. The Lanham Act creates a scheme that requires parties to take action

if they believe their mark is infringed, since failure to enforce trademark rights “may

result in the weakening of these rights over time.” Zosma Ventures, Inc. v. Nazari,

No. CV 12-1404, 2013 WL 12129643, at *6 (C.D. Cal. Sept. 23, 2013) (citation

omitted). And Trader Joe’s has a history of bringing trademark infringement suits

to protect its valuable, distinctive intellectual property. E.g., Trader Joe’s Co. v.

Hallatt, 835 F.3d 960, 963-64 (9th Cir. 2016); Trader Joe’s Co. v. T-Shirt at Fashion

LLC, No. CV 23-3010-MWF, 2023 WL 9420508, at *1 (C.D. Cal. July 18, 2023);

Trader Joe’s Co. v. Desertcart Trading FZE, No. 23-cv-01148-CRB, 2023 WL

3959376, at *1 (N.D. Cal. June 12, 2023). This case was no different.




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                                CONCLUSION

      The district court’s judgment should be reversed, the attorneys’ fees award

vacated, and the case remanded for further proceedings.

Dated: July 25, 2024                     Respectfully submitted,

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              STATEMENT OF RELATED CASES

Case Nos. 24-720 and 24-2826 are related and have been consolidated.




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                    UNITED STATES COURT OF APPEALS
                         FOR THE NINTH CIRCUIT

                  Form 8. Certificate of Compliance for Briefs

9th Cir. Case Number(s) 24-720, 24-2826

      I am an attorney for Plaintiff-Appellant Trader Joe’s Company.

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[ ] is a cross-appeal brief and complies with the word limit of Cir. R. 28.1-1.

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   Cir. R. 29-2(c)(2), or Cir. R. 29-2(c)(3).

[ ] is for a death penalty case and complies with the word limit of Cir. R. 32-4.

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Signature s/ Jennifer L. Barry                  Date July 25, 2024
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                   ADDENDUM
           Pursuant to 9th Cir. R. 28-2.7
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                                15 U.S.C. § 1114(1)(a)

§ 1114. Remedies; infringement; innocent infringement by printers and
publishers
   (1) Any person who shall, without the consent of the registrant—
       (a) use in commerce any reproduction, counterfeit, copy, or colorable
   imitation of a registered mark in connection with the sale, offering for sale,
   distribution, or advertising of any goods or services on or in connection with
   which such use is likely to cause confusion, or to cause mistake, or to deceive
   ...
shall be liable in a civil action by the registrant for the remedies hereinafter provided.
Under subsection (b) hereof, the registrant shall not be entitled to recover profits or
damages unless the acts have been committed with knowledge that such imitation is
intended to be used to cause confusion, or to cause mistake, or to deceive.
   As used in this paragraph, the term “any person” includes the United States, all
agencies and instrumentalities thereof, and all individuals, firms, corporations, or
other persons acting for the United States and with the authorization and consent of
the United States, and any State, any instrumentality of a State, and any officer or
employee of a State or instrumentality of a State acting in his or her official capacity.
The United States, all agencies and instrumentalities thereof, and all individuals,
firms, corporations, other persons acting for the United States and with the
authorization and consent of the United States, and any State, and any such
instrumentality, officer, or employee, shall be subject to the provisions of this
chapter in the same manner and to the same extent as any nongovernmental entity.
                                          ***




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                                  15 U.S.C. § 1116(a)

§ 1116. Injunctive relief
(a) Jurisdiction; service
    The several courts vested with jurisdiction of civil actions arising under this
chapter shall have power to grant injunctions, according to the principles of equity
and upon such terms as the court may deem reasonable, to prevent the violation of
any right of the registrant of a mark registered in the Patent and Trademark Office
or to prevent a violation under subsection (a), (c), or (d) of section 1125 of this title.
A plaintiff seeking any such injunction shall be entitled to a rebuttable presumption
of irreparable harm upon a finding of a violation identified in this subsection in the
case of a motion for a permanent injunction or upon a finding of likelihood of success
on the merits for a violation identified in this subsection in the case of a motion for
a preliminary injunction or temporary restraining order. Any such injunction may
include a provision directing the defendant to file with the court and serve on the
plaintiff within thirty days after the service on the defendant of such injunction, or
such extended period as the court may direct, a report in writing under oath setting
forth in detail the manner and form in which the defendant has complied with the
injunction. Any such injunction granted upon hearing, after notice to the defendant,
by any district court of the United States, may be served on the parties against whom
such injunction is granted anywhere in the United States where they may be found,
and shall be operative and may be enforced by proceedings to punish for contempt,
or otherwise, by the court by which such injunction was granted, or by any other
United States district court in whose jurisdiction the defendant may be found.
                                            ***




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                                 15 U.S.C. § 1117(a)

§ 1117. Recovery for violation of rights
(a) Profits; damages and costs; attorney fees
    When a violation of any right of the registrant of a mark registered in the Patent
and Trademark Office, a violation under section 1125(a) or (d) of this title, or a
willful violation under section 1125(c) of this title, shall have been established in
any civil action arising under this chapter, the plaintiff shall be entitled, subject to
the provisions of sections 1111 and 1114 of this title, and subject to the principles of
equity, to recover (1) defendant’s profits, (2) any damages sustained by the plaintiff,
and (3) the costs of the action. The court shall assess such profits and damages or
cause the same to be assessed under its direction. In assessing profits the plaintiff
shall be required to prove defendant’s sales only; defendant must prove all elements
of cost or deduction claimed. In assessing damages the court may enter judgment,
according to the circumstances of the case, for any sum above the amount found as
actual damages, not exceeding three times such amount. If the court shall find that
the amount of the recovery based on profits is either inadequate or excessive the
court may in its discretion enter judgment for such sum as the court shall find to be
just, according to the circumstances of the case. Such sum in either of the above
circumstances shall constitute compensation and not a penalty. The court in
exceptional cases may award reasonable attorney fees to the prevailing party.
                                         ***




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                              15 U.S.C. § 1125(a), (c)

§ 1125. False designations of origin, false descriptions, and dilution forbidden
(a) Civil action
  (1) Any person who, on or in connection with any goods or services, or any
container for goods, uses in commerce any word, term, name, symbol, or device, or
any combination thereof, or any false designation of origin, false or misleading
description of fact, or false or misleading representation of fact, which—
          (A) is likely to cause confusion, or to cause mistake, or to deceive as to the
      affiliation, connection, or association of such person with another person, or
      as to the origin, sponsorship, or approval of his or her goods, services, or
      commercial activities by another person, or
         (B) in commercial advertising or promotion, misrepresents the nature,
      characteristics, qualities, or geographic origin of his or her or another person’s
      goods, services, or commercial activities,
shall be liable in a civil action by any person who believes that he or she is or is
likely to be damaged by such act.
   (2) As used in this subsection, the term “any person” includes any State,
instrumentality of a State or employee of a State or instrumentality of a State acting
in his or her official capacity. Any State, and any such instrumentality, officer, or
employee, shall be subject to the provisions of this chapter in the same manner and
to the same extent as any nongovernmental entity.
  (3) In a civil action for trade dress infringement under this chapter for trade dress
not registered on the principal register, the person who asserts trade dress protection
has the burden of proving that the matter sought to be protected is not functional.
                                        ***
(c) Dilution by blurring; dilution by tarnishment
   (1) Injunctive relief
       Subject to the principles of equity, the owner of a famous mark that is
   distinctive, inherently or through acquired distinctiveness, shall be entitled to an
   injunction against another person who, at any time after the owner’s mark has
   become famous, commences use of a mark or trade name in commerce that is
   likely to cause dilution by blurring or dilution by tarnishment of the famous mark,
   regardless of the presence or absence of actual or likely confusion, of
   competition, or of actual economic injury.



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(2) Definitions
      (A) For purposes of paragraph (1), a mark is famous if it is widely
   recognized by the general consuming public of the United States as a
   designation of source of the goods or services of the mark’s owner. In
   determining whether a mark possesses the requisite degree of recognition, the
   court may consider all relevant factors, including the following:
          (i) The duration, extent, and geographic reach of advertising and
      publicity of the mark, whether advertised or publicized by the owner or
      third parties.
         (ii) The amount, volume, and geographic extent of sales of goods or
      services offered under the mark.
         (iii) The extent of actual recognition of the mark.
          (iv) Whether the mark was registered under the Act of March 3, 1881,
      or the Act of February 20, 1905, or on the principal register.
       (B) For purposes of paragraph (1), “dilution by blurring” is association
   arising from the similarity between a mark or trade name and a famous mark
   that impairs the distinctiveness of the famous mark. In determining whether
   a mark or trade name is likely to cause dilution by blurring, the court may
   consider all relevant factors, including the following:
         (i) The degree of similarity between the mark or trade name and the
      famous mark.
        (ii) The degree of inherent or acquired distinctiveness of the famous
      mark.
         (iii) The extent to which the owner of the famous mark is engaging in
      substantially exclusive use of the mark.
         (iv) The degree of recognition of the famous mark.
         (v) Whether the user of the mark or trade name intended to create an
      association with the famous mark.
         (vi) Any actual association between the mark or trade name and the
      famous mark.
       (C) For purposes of paragraph (1), “dilution by tarnishment” is association
   arising from the similarity between a mark or trade name and a famous mark
   that harms the reputation of the famous mark.




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(3) Exclusions
   The following shall not be actionable as dilution by blurring or dilution by
tarnishment under this subsection:
       (A) Any fair use, including a nominative or descriptive fair use, or
   facilitation of such fair use, of a famous mark by another person other than as
   a designation of source for the person’s own goods or services, including use
   in connection with—
          (i) advertising or promotion that permits consumers to compare goods
      or services; or
         (ii) identifying and parodying, criticizing, or commenting upon the
      famous mark owner or the goods or services of the famous mark owner.
      (B) All forms of news reporting and news commentary.
      (C) Any noncommercial use of a mark.
(4) Burden of proof
  In a civil action for trade dress dilution under this chapter for trade dress not
registered on the principal register, the person who asserts trade dress protection
has the burden of proving that—
      (A) the claimed trade dress, taken as a whole, is not functional and is
   famous; and
      (B) if the claimed trade dress includes any mark or marks registered on the
   principal register, the unregistered matter, taken as a whole, is famous separate
   and apart from any fame of such registered marks.
(5) Additional remedies
   In an action brought under this subsection, the owner of the famous mark shall
be entitled to injunctive relief as set forth in section 1116 of this title. The owner
of the famous mark shall also be entitled to the remedies set forth in sections
1117(a) and 1118 of this title, subject to the discretion of the court and the
principles of equity if—
      (A) the mark or trade name that is likely to cause dilution by blurring or
   dilution by tarnishment was first used in commerce by the person against
   whom the injunction is sought after October 6, 2006; and
      (B) in a claim arising under this subsection—




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         (i) by reason of dilution by blurring, the person against whom the
      injunction is sought willfully intended to trade on the recognition of the
      famous mark; or
         (ii) by reason of dilution by tarnishment, the person against whom the
      injunction is sought willfully intended to harm the reputation of the famous
      mark.
(6) Ownership of valid registration a complete bar to action
   The ownership by a person of a valid registration under the Act of March 3,
1881, or the Act of February 20, 1905, or on the principal register under this
chapter shall be a complete bar to an action against that person, with respect to
that mark, that—
      (A) is brought by another person under the common law or a statute of a
   State; and
      (B)(i) seeks to prevent dilution by blurring or dilution by tarnishment; or
      (ii) asserts any claim of actual or likely damage or harm to the
      distinctiveness or reputation of a mark, label, or form of advertisement.
(7) Savings clause
   Nothing in this subsection shall be construed to impair, modify, or supersede
the applicability of the patent laws of the United States.
                                    ***




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                                  29 U.S.C. § 101

§ 101. Issuance of restraining orders and injunctions; limitation; public policy
   No court of the United States, as defined in this chapter, shall have jurisdiction
to issue any restraining order or temporary or permanent injunction in a case
involving or growing out of a labor dispute, except in a strict conformity with the
provisions of this chapter; nor shall any such restraining order or temporary or
permanent injunction be issued contrary to the public policy declared in this chapter.




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                                   29 U.S.C. § 104

§ 104. Enumeration of specific acts not subject to restraining orders or
   injunctions
    No court of the United States shall have jurisdiction to issue any restraining order
or temporary or permanent injunction in any case involving or growing out of any
labor dispute to prohibit any person or persons participating or interested in such
dispute (as these terms are herein defined) from doing, whether singly or in concert,
any of the following acts:
  (a) Ceasing or refusing to perform any work or to remain in any relation of
employment;
    (b) Becoming or remaining a member of any labor organization or of any
employer organization, regardless of any such undertaking or promise as is described
in section 103 of this title;
    (c) Paying or giving to, or withholding from, any person participating or
interested in such labor dispute, any strike or unemployment benefits or insurance,
or other moneys or things of value;
   (d) By all lawful means aiding any person participating or interested in any labor
dispute who is being proceeded against in, or is prosecuting, any action or suit in
any court of the United States or of any State;
   (e) Giving publicity to the existence of, or the facts involved in, any labor dispute,
whether by advertising, speaking, patrolling, or by any other method not involving
fraud or violence;
    (f) Assembling peaceably to act or to organize to act in promotion of their
interests in a labor dispute;
   (g) Advising or notifying any person of an intention to do any of the acts
heretofore specified;
   (h) Agreeing with other persons to do or not to do any of the acts heretofore
specified; and
   (i) Advising, urging, or otherwise causing or inducing without fraud or violence
the acts heretofore specified, regardless of any such undertaking or promise as is
described in section 103 of this title.




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                                   29 U.S.C. § 107

§ 107. Issuance of injunctions in labor disputes; hearing; findings of court;
   notice to affected persons; temporary restraining order; undertakings
   No court of the United States shall have jurisdiction to issue a temporary or
permanent injunction in any case involving or growing out of a labor dispute, as
defined in this chapter, except after hearing the testimony of witnesses in open court
(with opportunity for cross-examination) in support of the allegations of a complaint
made under oath, and testimony in opposition thereto, if offered, and except after
findings of fact by the court, to the effect—
   (a) That unlawful acts have been threatened and will be committed unless
restrained or have been committed and will be continued unless restrained, but no
injunction or temporary restraining order shall be issued on account of any threat or
unlawful act excepting against the person or persons, association, or organization
making the threat or committing the unlawful act or actually authorizing or ratifying
the same after actual knowledge thereof;
   (b) That substantial and irreparable injury to complainant’s property will follow;
   (c) That as to each item of relief granted greater injury will be inflicted upon
complainant by the denial of relief than will be inflicted upon defendants by the
granting of relief;
   (d) That complainant has no adequate remedy at law; and
   (e) That the public officers charged with the duty to protect complainant’s
property are unable or unwilling to furnish adequate protection.
    Such hearing shall be held after due and personal notice thereof has been given,
in such manner as the court shall direct, to all known persons against whom relief is
sought, and also to the chief of those public officials of the county and city within
which the unlawful acts have been threatened or committed charged with the duty
to protect complainant’s property: Provided, however, That if a complainant shall
also allege that, unless a temporary restraining order shall be issued without notice,
a substantial and irreparable injury to complainant’s property will be unavoidable,
such a temporary restraining order may be issued upon testimony under oath,
sufficient, if sustained, to justify the court in issuing a temporary injunction upon a
hearing after notice. Such a temporary restraining order shall be effective for no
longer than five days and shall become void at the expiration of said five days. No
temporary restraining order or temporary injunction shall be issued except on
condition that complainant shall first file an undertaking with adequate security in
an amount to be fixed by the court sufficient to recompense those enjoined for any


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loss, expense, or damage caused by the improvident or erroneous issuance of such
order or injunction, including all reasonable costs (together with a reasonable
attorney’s fee) and expense of defense against the order or against the granting of
any injunctive relief sought in the same proceeding and subsequently denied by the
court.
    The undertaking mentioned in this section shall be understood to signify an
agreement entered into by the complainant and the surety, upon which a decree may
be rendered in the same suit or proceeding against said complainant and surety, upon
a hearing to assess damages of which hearing complainant and surety shall have
reasonable notice, the said complainant and surety submitting themselves to the
jurisdiction of the court for that purpose. But nothing in this section contained shall
deprive any party having a claim or cause of action under or upon such undertaking
from electing to pursue his ordinary remedy by suit at law or in equity.




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                                    29 U.S.C. § 113

§ 113. Definitions of terms and words used in chapter
   When used in this chapter, and for the purposes of this chapter—
    (a) A case shall be held to involve or to grow out of a labor dispute when the case
involves persons who are engaged in the same industry, trade, craft, or occupation;
or have direct or indirect interests therein; or who are employees of the same
employer; or who are members of the same or an affiliated organization of employers
or employees; whether such dispute is (1) between one or more employers or
associations of employers and one or more employees or associations of employees;
(2) between one or more employers or associations of employers and one or more
employers or associations of employers; or (3) between one or more employees or
associations of employees and one or more employees or associations of employees;
or when the case involves any conflicting or competing interests in a “labor dispute”
(as defined in this section) of “persons participating or interested” therein (as defined
in this section).
    (b) A person or association shall be held to be a person participating or interested
in a labor dispute if relief is sought against him or it, and if he or it is engaged in the
same industry, trade, craft, or occupation in which such dispute occurs, or has a
direct or indirect interest therein, or is a member, officer, or agent of any association
composed in whole or in part of employers or employees engaged in such industry,
trade, craft, or occupation.
   (c) The term “labor dispute” includes any controversy concerning terms or
conditions of employment, or concerning the association or representation of
persons in negotiating, fixing, maintaining, changing, or seeking to arrange terms or
conditions of employment, regardless of whether or not the disputants stand in the
proximate relation of employer and employee.
  (d) The term “court of the United States” means any court of the United States
whose jurisdiction has been or may be conferred or defined or limited by Act of
Congress, including the courts of the District of Columbia.




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